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                                 EXHIBIT A
       Notice issued by Dean of Students to SJP-UTD Leaders on May 1, 2024
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                                        EXHIBIT B
Court Order for Conditions of Bond issued May 2, 2024 by Magistrate Court in Collin County, Texas
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May not go on the UT Dallas campus except for the purposes of
attending classes or class related activities
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                                           EXHIBIT C
Drone video footage of May 1, 2024 SJP encampment at UTD, file name DJI_20240501092849_0002_Z.MP4
    This exhibit constitutes a video recording, a copy of which has been delivered to the Court.
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                                          EXHIBIT D
Drone video footage of May 1, 2024 SJP encampment at UTD, file name DJI_20240501140022_0003_Z.MP4
    This exhibit constitutes a video recording, a copy of which has been delivered to the Court.
